Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 1 of 7 PageID 11938




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 YELLOW PAGES PHOTOS, INC.,

       Plaintiff,

 v.                                                      CASE NO: 8:12-cv-755-T-26EAJ

 ZIPLOCAL, LP, and YELLOW PAGES
 GROUP, LLC,

       Defendants.
                                          /


                                         ORDER

       Before the Court is Plaintiff Yellow Pages Photos, Inc.,’s Motion for Entry of

 Permanent Injunction and Award of Prejudgment Interest, Yellow Pages Group, LLC’s

 Response in Opposition, and Defendant Ziplocal’s Response.1 After careful

 consideration of the arguments made, the applicable law, and the entire record, the Court

 concludes that permanent injunctive relief should be denied and prejudgment interest

 should be granted.

                           PROCEDURAL BACKGROUND

       The Third Amended Complaint seeks a permanent injunction against both

 Defendants Ziplocal, LP (Ziplocal) and Yellow Pages Group, LLC (Yellow Pages Group)



       1
           See dockets 449, 459 & 463.
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 2 of 7 PageID 11939



 in addition to damages.2 Specifically the Third Amended Complaint alleges the

 following:

                Defendants’ infringement of Plaintiff’s copyrights in the
                Works is causing irreparable injury to Plaintiff and, unless the
                injunction sought in this Complaint is granted, will continue
                to cause irreparable injury to Plaintiff. Plaintiff has suffered
                and will continue to suffer damage, the exact amount of the
                damage being unknown to Plaintiff at this time. The damage
                to Plaintiff is, and will continue to be, irreparable because of,
                among other reasons, the continuing nature of copyright
                infringement, which would necessitate a multiplicity of suits
                for damages if the continuance of the wrongs is not enjoined.

                . . . .

                WHEREFORE, Plaintiff demands judgment against
                Defendants for:
                (a) an injunction permanently enjoining and restraining
                Defendants, their officers, agents, servants, employees, and
                attorneys, and all other persons in active concert or
                participation with them, from infringing Plaintiff’s copyrights
                in the Works through further reproduction, use, publication,
                distribution, and display of Works.3

  The Joint Pretrial Statement includes, in the issues of law to be determined by the Court,

 whether Plaintiff would be entitled to injunctive relief if Ziplocal or Yellow Pages Group

 or both infringed Yellow Pages Photos’ copyrights.4 On March 27, 2014, a jury awarded

 damages in the amount of $100,001.00 against Ziplocal for breach of contract, willful



        2
            See docket 248, pp. 13-14.
        3
            See docket 248, p. 14, para. 53 & wherefore clause.
        4
            See docket 327, p. 210.

                                               -2-
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 3 of 7 PageID 11940



 copyright infringement of 123 works ($1), and contributory copyright infringement of 123

 works ($100,000.00); and $123,000.00 against Yellow Pages Group for willful copyright

 infringement of 123 works.5 Plaintiff now requests permanent injunctive relief against

 both Defendants.

                                        ANALYSIS

        The federal Copyright Act authorizes injunctive relief “on such terms as [the court]

 may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C. §

 502(a). To establish permanent injunctive relief, the Plaintiff must demonstrate 1)

 irreparable injury has been suffered, 2) damages do not adequately compensate, 3) the

 balance of hardships between the parties warrants equitable relief, and 4) the public

 interest would not be disserved by a permanent injunction. eBay Inc. v. MercExchange,

 L.L.C., 547 U.S. 388, 391, 126 S.Ct. 1837, 1839, 164 L.Ed.2d 641 (2006). Absent proof

 of the four factors, a permanent injunction does not automatically issue notwithstanding a

 finding of copyright infringement. eBay, 547 U.S. at 394. Although eBay involved

 patent infringement, the Eleventh Circuit has applied its holding to copyright cases. Peter

 Letterese & Assocs., Inc. v. World Inst. of Scientology Enters., Int’l, 533 F.3d 1287, 1323




        5
            See docket 422.

                                             -3-
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 4 of 7 PageID 11941



 (11th Cir. 2008).6 Relying on Peter Letterese & Assocs., many courts have refrained from

 automatically granting injunctive relief in copyright infringement cases.7

        Looking at the factors of irreparable harm and inadequate remedy at law,8 the

 Court concludes that Plaintiff has not shown that it will likely suffer irreparable harm in

 the future such that the damages already awarded by the jury will not adequately

 compensate for any losses. At the time of trial, and according to its sealed financial

 records, Plaintiff had not secured new customers since 2009. As the income from


        6
           The Second Circuit has also applied eBay’s holding to copyright cases. Salinger
 v. Colting 607 F.3d 68, 77 n.6 & 77-83 (2d Cir. 2010) (noting that First, Fourth and
 Eleventh Circuits have applied eBay to copyright cases).
        7
           See, e.g., Bait Prods. Pty Ltd. v. Murray, 2013 WL 4506408, at *4 (M.D. Fla.
 Aug. 23, 2013) (granting permanent injunctive relief because plaintiff established that
 defendant’s conduct was causing great and irreparable harm and the possibility of future
 infringement could not be adequately compensated by monetary damages alone); Axiom
 Worldwide, Inc. v. HTRD Group Hong Kong Ltd., 2013 WL 2406260, at *26 (M.D. Fla.
 Jun. 1, 2013) (granting permanent injunctive relief and finding all four elements met);
 Bollea v. Gawker Media, LLC, 913 F.Supp.2d 1325, 1331 (M.D. Fla. 2012) (denying
 preliminary injunctive relief because plaintiff introduced no evidence of irreparable harm
 in the context of copyright infringement); Broadcast Music, Inc. v. Bisla and Bisla, LLC,
 2012 WL 5387890, at *2 (M.D. Fla. Nov. 2, 2012) (denying injunctive relief in copyright
 infringement case because plaintiff failed to demonstrate that monetary damages would
 be inadequate to compensate their injuries); Live the Life Ministries, Inc. v. PAIRS
 Found., Inc., 2011 WL 6780997, at *12 (N.D. Fla Sept. 27, 2011) (granting preliminary
 injunction because irreparable harm shown); Microsoft Corp. v. Technology Enters.,
 LLC, 805 F.Supp.2d 1330, 1333-34 (S.D. Fla. 2011) (granting permanent injunctive relief
 and finding that defendant exhibited a pattern of infringement despite being subjected to a
 separate permanent injunction).
        8
           It is often difficult to separate the first two factors because the definition of
 irreparable harm may include that the injury cannot be adequately redressed by money
 alone. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F.Supp.2d 1197,
 1210 (C.D. Cal. 2007) (citing cases and recognizing eBay holding).

                                              -4-
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 5 of 7 PageID 11942



 Plaintiff’s photos and licensing revenues declined, Plaintiff did not obtain new customers,

 although Plaintiff’s principal continued to attempt to market the photos and entered into

 negotiations to sell licenses to no avail. Without a new market or income stream derived

 from photos or licenses for approximately five years, Plaintiff is unable to show that it

 would be irreparably harmed by loss of income.

        In addition to the lack of irreparable harm, Plaintiff’s principal’s testimony

 supports a finding that damages provide an adequate remedy at law, thereby negating the

 necessity of entering permanent injunctive relief. Plaintiff’s principal testified that a

 monetary award would compensate him for Plaintiff’s losses in the market. The Court

 concludes that the jury’s finding of willful infringement on the part of both Defendants

 and ensuing damage award, provides an adequate remedy at law for Plaintiff’s losses.

        With respect to prejudgment interest, the Court finds that an award of prejudgment

 interest is warranted under the general premise that prejudgment interest is presumptively

 available for willful infringement under the Copyright Act. See Due Process, Ltd. v.

 Alternative Debt Servs., Inc., 2007 WL 1428661, at *5 (N.D. Fla. May 14, 2007) (citing

 McRoberts Software, Inc. v. Media 100, Inc., 329 F.3d 557, 572-73 (7th Cir. 2003) and

 other circuit court cases). The rate of prejudgment interest may be determined from state

 law or, in some instances, by using the 52-week Treasury bill rate. See Due Process, at

 *5 (awarding prejudgment interest using Florida statutory rate in copyright infringement

 case and citing Seb S.A. v. Sunbeam Corp., 476 F.3d 1317, 1321 (11th Cir. 2007), a


                                               -5-
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 6 of 7 PageID 11943



 breach of contract case); Sky Cable, LLC v. Coley, 2014 WL 279592, at *3 (W.D. Va.

 Jan. 23, 2014) (finding that in federal question jurisdiction cases, district court is not

 bound by state rate of prejudgment interest); Oracle USA, Inc. v. Qtrax, Inc., 2011 WL

 4853436, at *2 (N.D. Cal. Sept. 27, 2011) (exercising discretion in copyright

 infringement case based on breach of contract to apply state rate of prejudgment interest).

 Applying section 55.03 of the Florida Statutes, the statutory annual rate of interest for

 2010 through September 30, 2011, is 6 % with a daily rate of 0.01644%, and the statutory

 annual rate of interest from October 1, 2011, through May 2014 is 4.75% with a daily rate

 of 0.0130137%. 9 The Court adopts Plaintiff’s reasoning that prejudgment interest should

 begin on November 1, 2010, the date of the outsourcing agreement between the two

 Defendants, and should end on the date of the judgment, May 5, 2014. Accordingly, the

 prejudgment interest to be awarded against Ziplocal is $17,811.43, and against Yellow

 Pages Group is $21,914.95.

         It is therefore ORDERED AND ADJUDGED as follows:

         (1)     Plaintiff Yellow Pages Photos’ Motion for Entry of Permanent Injunction

                 (Dkt. 449) is DENIED.

         (2)     Plaintiff’s Motion for Award of Prejudgment Interest (Dkt. 449) is

                 GRANTED.



         9
             The daily rate for 2012 is .0129781% because is was a leap year covering 366
 days.

                                               -6-
Case 8:12-cv-00755-RAL-CPT Document 472 Filed 06/18/14 Page 7 of 7 PageID 11944



       (3)   The clerk shall amend the judgment to include an award of prejudgment

             interest against Ziplocal in the amount of $17,811.43, and against Yellow

             Pages Group in the amount of $21,914.95.

       DONE AND ORDERED at Tampa, Florida, on June 18, 2014.



                                   s/Richard A. Lazzara
                                 RICHARD A. LAZZARA
                                 UNITED STATES DISTRICT JUDGE


 COPIES FURNISHED TO:
 Counsel of Record




                                          -7-
